        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 1 of 16



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

 v.                                                           Case No. 1:21-cr-118-RCL

 ERIC GAV ALEK MUNCHEL,
 LISA MARIE EISENHART,

         Defendants.


                                   MEMORANDUM OPINION

        Pending before the Court is an application submitted on behalf of sixteen media

organizations (the "Press Coalition") for access to video exhibits related to the pretrial detention

proceedings in this criminal.case. Defendants Eric Munchel and Lisa Eisenhart are charged by

indictment relating to the events at the U.S. Capitol on January 6, 2021. This Court reversed a

magistrate judge's decision releasing the defendants and ordered defendants detained pending trial.

United States v. Munchel, 521 F. Supp. 3d 54 (D.D.C. 2021). But the D.C. Circuit remanded to

this Court for additional consideration whether defendants posed an identified and articulable

threat to the community. United States v. Munchel, 991 F.3d 1273 (D.C. Cir. 2021). All three

courts relied heavily on an iPhone video shot by Munchel at the Capitol. To support its request

for pretrial detention, the government submitted to this Court the iPhone video and eight CCTV

videos from the Senate Lobby hallway. The government does not oppose the release of these

requested videos. Defendants, however, argue that while the Court may permit the Press Coalition

to access the videos, the Court should prohibit "release"-copying or rebroadcasting the videos to

the public. Defendants argue that release may prejudice their privacy rights and right to a fair trial.

Upon consideration of the parties' filings, ECF Nos. 97, 98, 99, and the arguments set forth at the

hearing, the Court will GRANT the Press Coalition's application.



                                                   1
         Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 2 of 16



                                     I.    BACKGROUND
        Defendants face criminal charges for participating in the unsuccessful insurrection at the

Capitol on January 6, 2021. See ECF No. 76. That day, Munchel wore an iPhone mounted on his

chest, which filmed a fifty-minute video of events outside and inside the Capitol. See ECF No. 3

at 5. Following defendants' arrests in Tennessee, the government moved to detain defendants

pending trial. See ECF Nos. 3, 6. At his detention hearing, Munchel introduced under seal excepts

from the iPhone video. The government's witnesses described the full iPhone video's contents in

detail. At Eisenhart' s detention hearing, the magistrate judge admitted the full iPhone video under

seal.   The magistrate judge ordered defendants released pending trial subject to a litany of

conditions.

        The government moved for an emergency stay and appealed the magistrate judge's

decision. ECF Nos. 3, 6. In a letter to the Chief Judge, the government provided Munchel's iPhone

video and eight CCTV videos from the Senate Lobby hallway. See ECF No. 35-2 at 1. Chief

Judge Howell granted the government's motion to stay the release order. ECF Nos. 4, 7. The case

was subsequently assigned to the undersigned and the Court scheduled a detention hearing for

February 17, 2021. See 2/17/2021 Min. Order.

        On February 17, 2021, the government sent an additional letter to this Court's chambers

with the CCTV videos from the Capitol and Munchel's iPhone video. See ECFNo. 35-1. Munchel

also submitted excerpts from the iPhone video under seal in support of his motion for pretrial

release. At the detention hearing, all parties relied heavily on the iPhone video. See, e.g., 2/17/21

Tr. 10, 23. Relying in substantial part on the iPhone video, this Court granted the government's

motion for review and ordered defendants detained pending trial. See Munchel, 521 F. Supp. 3d

at 56-67. After defendants appealed, the government subsequently filed a notice with the videos

and motion to supplement the record on appeal with the iPhone video.             ECF Nos. 35, 36.


                                                  2
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 3 of 16



Defendants disputed whether the iPhone video should be included in the record because the

government provided these videos ex parte. ECF No. 39. The Court granted the government's

motion. ECF No. 43.

        The D.C. Circuit remanded this Court's decision for additional consideration as to whether

defendants posed "an identified and articulable threat to the community." Munchel, 991 F.3d at

1282. The Circuit also cited the iPhone video at length, see id. at 1275-77, and recognized that

this Court's consideration encompassed the CCTV video as well, id. at 1280.

        On September 19, 2021, the Press Coalition filed an application for access to the CCTV

videos and Munchel's iPhone video. ECF No. 97. This Court granted the application and ordered

the government to make the videos available within 72 hours in accordance with the Chief Judge's

Standing Order 21-28. See 9/16/2021 Min. Order. The government and defendants moved for a

stay the following day. See ECF Nos. 98, 99. The government requested time to consult with

equity holders (including the United States Capitol Police) as to whether they opposed the release

of the videos. ECF No. 98. And defendants moved for reconsideration or a stay of the minute

order and asked for additional time to "fully submit their position on this request." ECF No. 99.

The Court granted the parties a stay until September 20, 2021, ECF No. 100, at which time the

Court held a hearing on the Press Coalition's motion. 9/20/2020 Min. Entry.

       At the hearing, the government withdrew its objection to the release of the videos in this

case. 9/20/2021 Tr. 17. Defendants, however, explained that while they do not oppose "access"

to the videos, they oppose "release" or transmitting and rebroadcasting these videos to the public.

See id. at 24. They argue that permitting the release and dissemination of these videos could

endanger their safety, prejudice their right to a fair trial, and taint the jury pool. Id. at 28-30.

Defendants' proposed solution is "to wait to produce the full tape until after the trial is started, if




                                                  3
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 4 of 16



we get that far." Id. at 25. After the hearing, the Court stayed its order granting the application

pending further order. 9/20/2021 Min. Order. In the subsequent weeks, defendants have not

attempted to file any further briefing to supplement their oral argument. The Press Coalition's

application is ripe for consideration.

                                 II.     LEGAL STANDARDS

        Standing Order 21-28 provides "a procedure for providing media access to video exhibits

submitted in Capitol Cases." See In re Press & Public Access to Video Exhibits in Capitol Riot

Cases, 21-MC-46 (BAH), 2021 WL 1946378, at *7 (D.D.C. May 14, 2021) (emphasis added). It

does not displace the common law right of access and instead advises that each judge should assess

what type of access is appropriate on a case-by-case basis. Id. at *5. Accordingly, the Court will

analyze the Press Coalition's request under the common law right of access.

       The D.C. Circuit has explained that the "common-law right of public access to judicial

records ,'is a fundamental element of the rule of law, important to maintaining the integrity and

legitimacy of an independent Judicial Branch."'         In re Leopold to Unseal Certain Elec.

Surveillance Applications & Ords., 964 F.3d 1121, 1127 (D.C. Cir. 2020) (quoting MetLife, Inc.

v. Fin. Stability Oversight Council, 865 F.3d 661,663 (D.C. Cir. 2017)). The importance of the

right cannot be understated.       It "serves to produce an informed and enlightened public

opinion[,] ... safeguard[ s] against any attempt to employ our courts as instruments of persecution,

promote[s] the search for truth, and[] assure[s] confidence in judicial remedies." Id.

       To determine whether this important right is implicated, the Court first asks whether the

subject of an application is a "judicial record." "[N]ot all documents filed with courts are judicial

records"; rather, "whether something is a judicial record depends on the 'role it plays in the

adjudicatory process."' Id. at 1128 (quotingSECv. Am. Int'! Grp., 712 F.3d 1, 3 (D.C. Cir. 2013)).

But "in all cases," In re Application for Access to Certain Sealed Video Exhibits, No. 21-MC-78


                                                 4
         Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 5 of 16



(JDB), 2021 WL 2711706, at *2-3 (D.D.C. June 30, 2021), "materials filed in court [and]

'intended to influence the court"' qualify as judicial records, United States v. Jackson, No. No. 21-

mj-115 (BAH), 2021 WL 1026127, at *4 (D.D.C. Mar. 17, 2021)(quoting In re Leopold, 964 F.3d

at 1128).

         A "strong presumption in favor of public access" attaches to judicial records. In re

Leopold, 964 F.3d at 1127 (quoting United States v. Hubbard, 650 F.2d 293,317 (D.C. Cir. 1980)).

But this presumption "may be outweighed by competing interests." MetLife, 865 F.3d at 665. To

balance the public and private interests at stake, courts in this Circuit apply a six-factor test crafted

by the D.C. Circuit in Hubbard. See In re Leopold, 964 F.3d at 1131. Specifically, a court must

weigh:

                (1) the need for public access to the documents at issue;
                (2) the extent of previous public access to the documents;
                (3) the fact that someone has objected to disclosure, and the identity
                of that person;
                (4) the strength of any property and privacy interests asserted;
                (5) the possibility of prejudice to those opposing disclosure; and
                (6) the purposes for which the documents were introduced during
                the judicial proceedings.

Id. (quoting MetLife, 865 F.3d at 665).

                                       III.    ANALYSIS

         As noted previously, defendants do not oppose the Press Coalition's request for immediate

access to the video exhibits in this case. Nor do defendants oppose releasing the videos after trial

has started.   9/20/2021 Tr. 25.      Defendants frame their challenge to the Press Coalition's

application as one to when the videos can be released in this case. Defendants contend that while

the Press Coalition should now be able to view these videos and write about them, the Press

Coalition should not be permitted to copy or retransmit the videos until after the trial has started.

Even so framed, defendants' challenge falls short. As the following explains, the video exhibits



                                                   5
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 6 of 16



in this case are judicial records and a strong presumption of public access attaches to them.

Accordingly, the Court's decision as to when and whether the videos should be released is guided

by the considerations in the six-part Hubbard test.      Here, the Court finds that defendants'

arguments are insufficient to overcome the presumption of access. The Court will thus order the

release of the videos sought in the application.

   A. The Exhibits Are Judicial Records And A Presumption Of Access Applies

       To begin, the videos at issue are judicial records. "[W]hether something is a judicial record

depends on 'the role it plays in the adjudicatory process."' In re Leopold, 964 F .3d at 1128

(quoting Am. Int'! Grp., 712 F.3d at 3). Documents and other materials filed in court that are

"intended to influence the court," are judicial records. Id. Here, Munchel's iPhone video and the

CCTV videos were submitted to the magistrate judge and to this Court to "influence a judicial

decision," under the Bail Reform Act, 18 U.S.C. § 3142-i.e., whether defendants should be

detained or released pending trial. League of Women Voters of US. v. Newby, 963 F.3d 130, 136

(D.C. Cir. 2020); see, e.g., ECF No. 3 at 9-12; ECF No. 13 at 3; ECF No. 35-1. Neither defendant

disputes that the iPhone video was relied upon extensively by the magistrate judge, this Court, and

the D.C. Circuit when considering defendants' pretrial detention. And this Court indeed viewed

the CCTV footage before making its detention decision. All these exhibits played a "significant

and meaningful role in the adjudicatory process," and are plainly judicial records. Jackson, 2021

WL 1026127, at *5.

       Because these videos are judicial records, a "strong presumption in favor of public access"

attaches to them. In re Leopold, 964 F.3d at 1127. Defendants do not seriously dispute that the

presumption applies, but they do attempt to reframe and limit the scope of this presumption. At

the hearing, defendants suggested that "full release"-which the Court understands to mean




                                                   6
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 7 of 16



anything beyond merely v1ewmg the footage, including additional actions like copymg,

retransmitting, or rebroadcasting the videos-is peripheral to the core right of access.            See

9/20/2020 Tr. 24. Not so.

       Defendants' proposed version of the right has no basis in precedent and is antithetical to

the instrumental goals served by the right. The common law right of access has long encompassed

the right to "copy public records." See, e.g., In re Leopold, 964 F.3d at 1127. In fact, American

courts have not only rejected artificial limitations on the common law right of access but also

"tended to view any limitation as repugnant to the spirit of our democratic institutions." United

States v. Mitchell, 551 F.2d 1252, 1257 (D.C. Cir. 1976), rev'd on other grounds sub nom. Nixon

v. Warner Commc 'ns, Inc., 435 U.S. 589 (1978). It is thus not surprising that the Courts of Appeal

have recognized that the right (and the accompanying presumption of access) extends to release

and rebroadcasting by news media. See In re Application ofNat 'l Broad. Co., Inc., 635 F.2d 945,

952 (2d Cir. 1980) ("When physical evidence is in a form that permits inspection and copying

without any significant risk of impairing the integrity of the evidence or interfering with the orderly

conduct of the trial, only the most compelling circumstances should prevent contemporaneous

public access to it."); United States v. Criden, 648 F .2d 814, 823 (3d Cir. 1981) ("When the

common law right of access is buttressed by the significant interest of the public in observation,

participation, and comment on the trial events, we believe that the existence of a presumption of

release is undeniable."). Release promotes the same instrumental goals underlying the common

law right: "produc[ing] an informed and enlightened public opinion[,] ... promot[ing] the search

for truth, and [] assur[ing] confidence in judicial remedies." In re Leopold, 964 F.3d at 1127

(quoting Hubbard, 650 F.2d at 315 n.79); see Criden, 648 F.2d at 822 ("[B]roader dissemination




                                                  7
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 8 of 16



would serve the same values of 'community catharsis,' observation of the criminal trial process,

and public awareness served by the open trial guarantee.").

       Accordingly, the Court will reject defendants' attempts to limit the scope of the right and

the presumption of access that attaches to these videos. But the Court agrees with the defendants

that the common law "right to inspect and copy judicial records is not absolute." Nixon, 435 U.S.

at 598. Accordingly, the Court must.next address whether the presumption weighing in favor of

access is "outweighed by competing interests," and apply the six-factor Hubbard test.

   B. Application Of The Hubbard Factors

       Upon consideration of the Hubbard factors, the Court finds that defendants' arguments are

insufficient to overcome the strong presumption of public access to the video exhibits. Release is

proper here.

       1. Need for Public Access to the Exhibits

       The need for public access weighs heavily in favor of disclosure. Courts in this district

have granted media applications when the records at issue implicate "issues of major public

importance related to the conduct not only of the defendant[ ] but also of government law

enforcement agents." Jackson, 2021 WL 1026127, at *6 (quoting In re Application ofNat'l Broad.

Co., 653 F.2d 609, 620-21 (D.C. Cir. 1981)). It cannot be understated that the events of January

6, 2021, are of "deep national importance," id., so there "is a strong public interest in seeing real-

time images of what happened that day," In re Application for Access to Certain Sealed Video

Exhibits, 2021 WL 2711706, at *5.

       And there is an independently strong public interest in the legal significance of these

videos. The D.C. Circuit has recognized that "there is a need for public access in those instances

where the [records] at issue [are] ... specifically referred to in the trial judge's public decision."




                                                  8
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 9 of 16



E.E.O.C. v. Nat'! Children's Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (quoting Hubbard,

650 F.2d at 318). Here, the Court viewed, "referred to," and relied upon the footage in making its

determination that defendants should be detained pending trial. Hubbard, 650 F.2d at 318; see

Munchel, 521 F. Supp. 3d at 64. The D.C. Circuit, despite citing the same footage, disagreed with

this Court's detention determination and remanded for additional consideration as to whether

defendants constituted an "identified and articulable threat to an individual or the community."

Munchel, 991 F.3d at 1275-77. The Circuit's remand decision in this case has thus far served as

a lodestar for determining whether a January 6 defendant may be detained. See, e.g., United States

v. Owens, No. 21-cr-286 (BAH), 2021 WL 2188144, at *6 (D.D.C. May 28, 2021); United States

v. Gieswein, No. 21-cr-24 (EGS), 2021 WL 3168148, at *9 (D.D.C. July 27, 2021). Releasing the

videos promotes an "informed and enlightened public opinion" about the type of defendant who

may be detained pending trial in this Circuit. In re Leopold, 964 F.3d at 1127.

       Defendants argue that the "need" for these videos is "belied by the fact that [the Press

Coalition] waited over six months to even seek this information." Tr. 26. But the Press Coalition's

actions are of minimal importance to the Court's analysis under this factor.         The Court has

concluded that there is a strong public interest in this footage which weighs in favor of greater

access. That the Press Coalition specifically took several months to seek this footage does not

affect that conclusion. And defendants tacitly concede this by acknowledging that the Press

Coalition's access to these videos would be proper. See 9/20/2021 Tr. 29. The first Hubbard

factor weighs strongly in favor of greater public access to the videos, including release.

       2. The Extent of Previous Public Access to Video Exhibits

       "[P]revious access has been considered relevant to a determination whether more liberal

access should be granted to materials formerly properly accessible only on a limited basis through




                                                 9
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 10 of 16



legitimate public channels and to a determination [of] whether further dissemination of already

accessible materials can be restrained." Hubbard, 650 F.2d at 318. Generally, when "much of the

critical information is already in the public forum," this factor weighs in favor greater disclosure.

In re Application of New York Times Co. for Access to Certain Sealed Ct. Recs., 585 F. Supp. 2d

83, 93 (D.D.C. 2008).

        As defendants correctly identify, at all relevant times in this case the videos sought in the

Press Coalition's application have been under seal. So the public has not had access to any of

these videos. Accordingly, defendants argue that if the Press Coalition is granted access to the

videos, the Court should restrict copying, releasing, or retransmitting of any type. The Court

disagrees. To the extent that the previous access weighs against release, it does so only slightly.

The public has already had access to photographs of defendants in the Senate Chamber-

photographs that show Munchel carrying a handful of zip-tie handcuffs. E.g., Zoe Tillman, An

Alleged Capitol Rioter Photographed with Zip Tie Handcuffs Will Stay in Jail, Buzzfeed News

(Feb. 17, 2021) 1; cf Jackson, 2021 WL 1026127, at *6 (concluding that an order sealing videos,

where images of the same events were already readily accessible on the internet, would be "both

pointless and unwarranted"). The Court's memorandum opinion-which is also available to the

public-describes in detail the events in Munchel's iPhone video. Munchel, 521 F. Supp. 3d at

56-57. The D.C. Circuit's decision also cites many parts of the iPhone video. Munchel, 991 F.3d

at 1275-77. And the CCTV· videos largely show the same events-albeit from a different

perspective. While the Court agrees that this factor weighs against broader release, it does so only

slightly because the public has already been informed about the contents of the videos at issue.




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   Available at https://www.buzzfeednews.com/article/zoetillman/capitol-riot-zip-tie-guy-eric-munchel-
jailed-trial.
       Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 11 of 16



       3. Identity of the Person Objecting to Disclosure

        Generally, Hubbard provides "broader protection" when a third party's privacy or property

rights are at issue and that third party objects. Jackson, 2021 WL 1026127, at *7; In re Application

for Access to Certain Sealed Video Exhibits, 2021 WL 2711706, at *5. But where, as here, the

only party to object is the defendant, courts in this district have concluded that this factor weighs

in favor of disclosure. Jackson, 2021 WL 1026127, at *7; In re Application for Access to Certain

Sealed Video Exhibits, 2021 WL 2711706, at *5. And the Circuit has also recognized that when

the government is a party to the case-and supports public access to the judicial record-this

further strengthens the case for access. See Nat 'l Children's Ctr., 98 F.3d at 1409. On balance,

the Court finds that this factor does not weigh against release.

       4. Strength of Asserted Privacy and Property Interests

       The fourth Hubbard factor focuses on the objecting parties' privacy and property interests

in the particular material at issue.   See Jackson, 2021 WL 1026127, at *7.            Disclosure is

discouraged where there is a possibility of "public humiliation and degradation" that would

"constitute an unconscionable invasion of privacy" to innocent third persons. In re Application of

Nat 'l Broad. Co., 653 F.2d at 620.

       Defendants identify three privacy and property interests that purportedly weigh against

release in this case. The Court is not persuaded. First, defendants argue that Munchel's iPhone

video is his property. That is technically true. But this is hardly the type of substantial property

interest that the D.C. Circuit has recognized to weigh against disclosure. See, e.g., Metlife, Inc.

865 F.3d at 671 (explaining that secret nature of documents' contents, which contained sensitive

business information and trade secrets, may weigh against public access); Hubbard, 650 F.2d at

320 (concluding that third-party church's interest in preventing disclosure of private documents




                                                 11
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 12 of 16



seized from a non-public area weighed against public access). And defendants make no effort to

explain what type of injury to their property interests they will suffer from the release of the iPhone

video. (Defendants have identified no property interest in the CCTV videos captured by the

Capitol's surveillance system.)

         Second, defendants argue that the privacy interests of those in the video weigh against

disclosure. Not so. The events captured in the videos not only took place in a public setting but

were also extensively captured by photographers and videographers (many who were also

participants). As Chief Judge Howell has explained, the fourth Hubbard factor's concern with an

"unconscionable invasion of privacy to innocent third persons" is simply not implicated when the

images at issue "were captured while [those present were] participating very publicly with a mob

assaulting the Capitol." Jackson, 2021 WL 1026127, at *7 (quoting In re Application of Nat'l

Broad. Co., 653 F.2d at 620).

        Third, defendants also argue that the release of these videos implicates their safety. 2 •

9/20/2021 Tr. 28. In support of this argument, defendants proffered at the hearing that they have

received threats because of their involvement in this case. Id. Recognizing that they have already

been subjected to significant publicity from photographs and other news coverage, defendants

argue that the release of these videos is qualitatively different because "the power of video" is

"significantly greater on the community than still photographs or reports." Id.

        Defendants' appeal to generalized safety concerns is not enough to swing the fourth

Hubbard factor in their favor. As defendants acknowledge, the public already has access to

photographs of defendants carrying zip ties in the Senate chamber. See, e.g., id.; Tillman, supra.



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 Defendants made their safety-related arguments under Hubbard's "prejudice" prong, see 9/20/2021 Tr.
27-28, but the Court finds that this interest is better considered here. The prejudice prong ordinarily focuses
on the trial rights of the defendant. See, e.g., Hubbard, 650 F.2d at 320-21 & n.107.



                                                      12
       Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 13 of 16



The Court described defendants' conduct in detail in its published memorandum opinion. See

Munchel, 521 F. Supp. 3d at 64. And the Court's hearings in this matter are publicly available to

those using this Court's public access line. U.S. District Court for the District of Columbia,

COVID-19       Emergency      Public       Access    Teleconference    Information     for    Judges,

https ://www. dcd. uscourts. gov/covid-19-emergency-public-access-teleconference-information-

for-j udges (last visited Oct. 7, 2021).    Defendants and January 6 cases have already received

significant public attention, so the Court's analysis must ask whether the release of these particular

videos is likely to create a new or heightened risk to defendants' safety beyond that which already

exists. In light of the publicity defendants have already received, the Court is not persuaded that

releasing these videos of the events will create a new or heightened risk to defendants' safety that

this factor weighs against disclosure. The fourth Hubbard factor weighs in favor of release.

       5. Possibility of Prejudice

       The fifth Hubbard factor addresses whether defendants' rights in this proceeding will be

prejudiced by release. See, e.g., Hubbard, 650 F.2d at 320-21; Jackson, 2021 WL 1026127, at

*7-*8. On this factor, defendants argue that releasing the videos may taint the jury pool and

compromise their right to a fair trial, especially if aspects of the video are presented "in an

incomplete manner and out of context." See ECF No. 99 at 2-3; Tr. 28, 29. Here too, defendants'

arguments fall short.

       At the hearing, defendants made no attempt to explain why voir dire, "the traditional

method of protecting defendants from the adverse effects of publicity," would be insufficient to

guarantee them a free trial. Criden, 648 F.2d at 828; see, e.g., In re Application of Nat'! Broad.

Co., 635 F.2d at 953 ("The opportunity for voir dire examination still remains a sufficient device

to eliminate from jury service those so affected by exposure to pre-trial publicity that they cannot




                                                    13
       Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 14 of 16



fairly decide issues of guilt-or innocence."). And the tools available to this Court to mitigate any

effects of pretrial publicity on a defendant's right to a fair trial do not stop there. This Court can

take additional protective measures like granting a continuance or changing venue.              In re

Application of Nat'! Broad. Co., 635 F.2d at 953 n.9 (citing Sheppard v. Maxwell, 384 U.S. 333,

363 (1966)).     In other cases involving significant public attention, courts have consistently

recognized that these tools are adequate to protect defendants' rights. See, e.g., id.; United States

v. Haldeman, 559 F.2d 31, 61-63 & n.37 (D.C. Cir. 1976); United States v. Kahaner, 204 F. Supp.

921 (S.D.N.Y. 1962), aff'd, 317 F.2d 459 (2d Cir. 1963). As these tools have protected defendants'

rights to a fair trial and impartial jury before, so too will they protect defendants' rights here.

Defendants' failure to grapple with the sufficiency of these traditional methods of guaranteeing a

free trial dooms their prejudice arguments.

       What's more, the force of defendants' prejudice arguments is diminished because of the

publicity defendants have already received. The photos of defendants in the Senate gallery and

several filings describing their conduct in detail, including this Court's published opinion, are

already available to the public. While defendants here argue that "the power of video" makes

release more likely to prejudice them, 9/20/2021 Tr. 28, the Court is neither convinced that

defendants face an increased risk of prejudice considering previous publicity in this case nor

persuaded that voir dire will be insufficient to mitigate any prejudice.

       Viewing this case in context reinforces the Court's conclusion. Defendants are just two of

more than six hundred defendants in a massive law enforcement operation focused on the events

of January 6. See U.S. Atty's Office for D.C., Eight Months Jan 6 Attack Capitol (Sept. 14, 2021),

https://www.justice.gov/usao-dc/eight-months-jan-6-attack-capitol. The events on January 6 and

the many other defendants are also receiving public attention. As the Second Circuit has noted,




                                                 14
        Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 15 of 16



"Defendants, as well as the news media, frequently overestimate the extent of the public's

awareness of news." Application ofNat'l Broad. Co., 635 F.2d at 953. The status conferences in

this case show·that the government and defendant are still trudging through a lengthy discovery

process involving hundreds of thousands of photos, videos, and other exhibits. See, e.g., ECF Nos.

90, 96. So the Court is not convinced that by the time a trial date is set, the release of these videos

is likely to taint the potential jury pool in this particular case.

         "Given the scope of prior public access," the tremendous media coverage of the January

6 events as a whole, and the vast number of January 6 defendants, releasing these clips is unlikely

to prejudice defendants. In re Application for Access to Certain Sealed Video Exhibits, 2021· WL

2711706, at *5. And to the extent that defendants may suffer any increase in prejudice, the Court

is not convinced that it is enough to overcome the presumption of public access here, especially

when voir dire can cure that prejudice.          See Jackson, 2021 WL 1026127, at *8 ("Further

disclosures of his actual offense conduct as it occurred and captured on aU five Video Exhibits

may focus more attention on that conduct and possibly exacerbate that prejudice, but not to an

extent that overcomes the presumption of public access.").

        6. The Purpose for Which Video Exhibits Were Introduced

        Courts in this district recognize that a "strong presumption of public access [applies] to

documents that a litigant submits with the intention that the court will rely on them." Jackson,

2021 WL 1026127, at *8 (quoting United States v. All Assets Held at Bank Julius Baer & Co., No.

04-cv-798 (PLF/GMH), 2020 WL 7773423 at *8 (D.D.C. Dec. 30, 2020)). 3 Here, the videos were

submitted to the Court with the purpose of influencing the Court's detention determination. The


3
  Notably, in Hubbard, the D.C. Circuit concluded that this factor was the "single most important" factor
in its determination that the district court's unsealing order was an abuse of discretion. Hubbard, 650 F.2d
at 321.


                                                    15
             Case 1:21-cr-00118-RCL Document 107 Filed 10/08/21 Page 16 of 16



      Supreme Court has explained that exceptions to the common law right may exist where "court files

      might have might have become a vehicle for improper purposes . . . such as to 'gratify private

      spite or promote public scandal."' Nixon, 435 U.S. at 597. But defendants do not claim, and the

      Court has no reason to believe, that the videos were introduced for any improper purpose.

      Accordingly, this factor weighs firmly in favor of release. 4

                                                *       *       *

              Together, the presumption of access to the videos is not outweighed by any significant,

      countervailing interests. The Hubbard factors strongly support not only mere "access," which

      defendants concede, but also "release." The right to public access includes the ability "to inspect

      and copy" judicial records, MetLife, 865 F.3d-at 665 (quoting Nixon, 435 U.S. at 597), so the Court

      will permit the Press Coalition to "record, copy, download, retransmit, and otherwise further

      publish" the videos as it requests.

IV.      CONCLUSION

             Based on the foregoing, the Court will GRANT the Press Coalition's application by

      separate order.



       Date: ---------                                                                   rlh
                                                                         United States District Judge




  4 Defendants attempted to argue that the purpose for which these videos were introduced was "under seal."
  9/20/2021 Tr. 28. But sealing was not the "purpose" for which the documents were introduced. Instead,
  the relevant question is why the documents were submitted to the Court-i.e, to influence a court decision
  and not for another improper purpose. See, e.g., Hubbard, 650 F.2d at 321; Jackson, 2021 WL 1026127,
  at *8; In re Application for Access to Certain Sealed Video Exhibits, 2021 WL 2711706, at *5. The
  documents' introduction under seal has already been considered in the context of Hubbard's second factor.
  See supra.


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